
561 So.2d 26 (1990)
IN THE INTEREST OF R.I., a Juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 89-2057.
District Court of Appeal of Florida, Third District.
May 15, 1990.
Bennett H. Brummer, Public Defender, and Jeffrey D. Weinkle, Sp. Asst. Public Defender, for appellant.
Robert A. Butterworth, Atty. Gen., and Patricia Ann Ash, Asst. Atty. Gen., for appellee.
Before BASKIN, FERGUSON and GERSTEN, JJ.
PER CURIAM.
Appellant, R.I., a juvenile, appeals his adjudication of delinquency based on a simple battery. We affirm.
Appellant contends that the trial court erred in failing to grant appellant's motion for judgment of acquittal, after appellant maintained he was acting in self-defense in striking and kicking another juvenile. Appellee, State, contends that based on the evidence the trial court correctly found appellant guilty of battery.
The record in this case is replete with contradictory testimony of the victim and appellant regarding the actual sequence of events. However, the totality of the record evinces that it was appellant who unlawfully approached the victim in an aggressive and unprovoked manner. The record is also clear that as a result of appellant's unlawful conduct, the victim sustained injuries requiring an operation. The record therefore supports the trial court's findings.
We find that the trial court was in a better position to evaluate the conduct and credibility of the witnesses, and that the record demonstrates competent substantial evidence to support the adjudication of delinquency. See J.Y. v. State, 332 So.2d 643 (Fla.3d DCA 1976). Accordingly, we affirm.
Affirmed.
